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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                              CASE NO.:

  GUSTAVO A. FURFARI,
  MARIA T. BERRIOS,
  and other similarly-situated individuals,

          Plaintiffs,
  v.

  DRACO PAINTING CORP
  and GUSTAVO IGLESIAS, individually

          Defendants.

  __________________________________/

                                        COMPLAINT
                            (OPT-IN PURSUANT TO 29 U.S.C § 216(b))

          COME NOW the Plaintiffs GUSTAVO A. FURFARI, MARIA T. BERRIOS, and other

  similarly situated individuals, by and through the undersigned counsel, and hereby sue Defendants

  DRACO PAINTING CORP and GUSTAVO IGLESIAS individually and alleges:

       1. This is an action to recover money damages for unpaid regular and overtime wages under

          the laws of the United States. This Court has jurisdiction pursuant to the Fair Labor

          Standards Act, 29 U.S.C. § 201-219 (Section 216 for jurisdictional placement) (“the Act”).

       2. Plaintiffs GUSTAVO A. FURFARI and MARIA T. BERRIOS are residents of Miami-

          Dade County, Florida. Plaintiffs are covered employees for purposes of the Act.

       3. Defendant DRACO PAINTING CORP (hereinafter DRACO PAINTING, or Defendant)

          is a Florida corporation, having corporate offices at 10840 SW 36 ST Miami, FL 33165,

          and performing business in the area of Dade and other Counties. At all times material,

          Defendant was and is engaged in interstate commerce.

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     4. Individual Defendant GUSTAVO IGLESIAS was and is now, the owner/partner and/or

        manager of Defendant Corporation DRACO PAINTING.                 Defendant GUSTAVO

        IGLESIAS is the employer of Plaintiff and others similarly situated within the meaning of

        Section 3(d) of the “Fair Labor Standards Act” [29 U.S.C. § 203(d)],

                                   GENERAL ALLEGATIONS

     5. Defendant DRACO PAINTING is a construction company dedicated to commercial,

        residential, and industrial new construction and remodeling. Defendants specialized in

        plastering and painting projects. Defendant DRACO PAINTING participated in out of

        State construction projects.

     6. Defendant DRACO PAINTING and GUSTAVO IGLESIAS hired Plaintiffs GUSTAVO

        A. FURFARI and MARIA T. BERRIOS to work as construction workers for DRACO

        PAINTING.

     7. A.- Allegations pertaining to Plaintiff GUSTAVO A. FURFARI

        Defendant DRACO PAINTING and GUSTAVO IGLESIAS employed Plaintiff

        GUSTAVO A. FURFARI, from approximately March 04, 2019 to June 5, 2019, or 13

        weeks and 2 days.

     8. Plaintiff was hired by GUSTAVO IGLESIAS as a non-exempted, full-time, hourly

        construction, plastering and painting employee.

     9. From approximately March 04, 2019 to May 3, 2019, or 8 weeks and 4 days, Plaintiff had

        an hourly rate of $18.00 an hour, and he worked in Miami, Florida

     10. From approximately May 4, 2019 to June 5, 2019, or 4 weeks plus 4 days, or 5 weeks

        Plaintiff was sent to work to Austin, Texas. He was promised a wage rate of $25.00 and

        hour plus living accommodations, and roundtrip tickets. Plaintiff traveled with the owner



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        of the business GUSTAVO IGLESIAS. The fact is that Plaintiff was paid $20.00 an hour

        during the weeks he worked in Texas.

     11. While employed by Defendants, Plaintiff GUSTAVO A. FURFARI worked regularly 6

        days per week. Plaintiff worked from Monday to Friday from 7:00 AM to 6:00 PM (11

        hours); on Saturdays, Plaintiff worked from 8:00 AM to 6:00 PM (10 hours). Plaintiff was

        unable to take bona-fide lunch periods at least 3 days every week (1.5 Hours per week.

        Consequently, Plaintiff worked a minimum average of 63.5 hours in a week of 6 days.

        Plaintiff has already deducted 1.5 hours of lunch time per week (0.5 lunch hour x 3 days).

     12. In addition, on May 4, 2019 Plaintiff was sent to work to Austin, Texas. Plaintiff had a

        travel time of 24 hours, which was not compensated at any rate. When Plaintiff arrived at

        his destination, he worked his regular schedule of 6 days with 65 hours weekly. Plaintiff

        was unable to take bona-fide lunch periods. Therefore, Plaintiff worked one week of 89

        hours in a week period.

     13. Moreover, the week from May 27, to June 01, 2019, Plaintiff was sent to work for 1 week

        to Wichita, Kansas. Plaintiff was picked up at 3:00 AM on Monday, then Plaintiff returned

        on Friday to Austin, Texas at 10:00 PM and continued his work on Saturday. That week,

        Plaintiff was unable to take bona-fide lunch periods and he completed 73 working hours.

     14. Plaintiff was paid with checks without any record of days and hours worked, wage rate,

        employment taxes withheld etc.

     15. Plaintiff was never in agreement with the payment received. He worked regularly 63.5 and

        more hours, however he was never paid correctly for all his hours. Plaintiff always worked

        in excess of 40 hours, but he was not paid for overtime hours.




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     16. Plaintiff did no clock in and out, but he worked under closed supervision of the owner of

        the business, Defendant GUSTAVO IGLESIAS.

     17. Therefore, Defendant willfully failed to pay Plaintiff for regular hours and overtime hours

        at the rate of time and a half her regular rate, for every hour that he worked in excess of

        forty (40), in violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C.

        207(a)(1).

     18. Plaintiff complained multiple times with the owner of the business GUSTAVO IGLESIAS,

        Plaintiff requested to be paid for all his hours and to be paid for overtime hours.

     19. On or about June 5, 2019, Plaintiff complained to GUSTAVO IGLESIAS for the last time.

        This time, Defendant GUSTAVO IGLESIAS fired Plaintiff and refused to pay him for all

        his overtime hours, as agreed and as Plaintiff reasonably expected.

     20. Plaintiff is not in possession of time and payment records, but he will provide a good faith

        estimate of unpaid overtime based on the regular schedule that he worked, and an average

        paycheck of $880.00 weekly. After proper discovery, Plaintiff is going to adjust his

        calculations.

     21. Plaintiff GUSTAVO A. FURFARI seeks to recover unpaid overtime hours, accumulated

        during all their time of employment, retaliatory damages, liquidated damages, and any

        other relief as allowable by law.

     22. B.- Allegations pertaining to MARIA T. BERRIOS

        Defendants DRACO PAINTING and GUSTAVO IGLESIAS employed MARIA T.

        BERRIOS in Miami Florida from approximately May 3, 2019 to June 5, 2019, or 4 weeks

        plus 4 days. Plaintiff MARIA T. BERRIOS is the wife of Plaintiff GUSTAVO A.

        FURFARI.



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     23. Plaintiff worked as a full time, non-exempted, hourly, cleaning employee. Plaintiff’s duties

        consisted of the cleaning and disposal of construction debris, and her wage rate was $12.00

        an hour.

     24. During her time of employment Plaintiff worked regularly 6 days per week. Plaintiff

        worked from Monday to Friday from 7:00 AM to 6:00 PM (11 hours); on Saturdays, she

        worked from 8:00 AM to 6:00 PM (10 hours). Plaintiff worked a total of 62 hours weekly.

        Plaintiff has already deducted 3 hours corresponding to 0.5 hours of lunch time per 6 days.

     25. Plaintiff did not clock in and out, but Defendants were always in control of Plaintiff’s work

        and they were able to keep track of the hours worked by Plaintiff.

     26. Therefore, Defendant willfully failed to pay Plaintiff for regular hours and overtime hours

        at the rate of time and a half her regular rate, for every hour that he worked in excess of

        forty (40), in violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C.

        207(a)(1).

     27. Plaintiff was paid a different amount every week, with checks and in cash, without any

        paystub or record of days and hours worked, wage rate, employment taxes withheld etc.

     28. Plaintiff was fired on or about June 5, 2019, due to retaliation and discriminatory reasons.

     29. Plaintiff is in the process of filing her Charge of Discrimination with the Equal

        Employment Opportunity Commission (EEOC).

     30. Plaintiff is not in possession of time and payment records, but she will try to provide a good

        faith estimate of unpaid wages based on her regular schedule and based on an average

        payment of $500.00 weekly. After proper discovery, Plaintiff will adjust her calculations.




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     31. Plaintiff MARIA T. BERRIOS seeks to recover overtime wages accumulated during all

        her time of employment, retaliatory damages, liquidated damages and any other relief as

        allowable by law.

     32. The additional persons who may become Plaintiffs in this action are weekly-paid

        employees and/or former employees of Defendants who are and who were subject to the

        unlawful payroll practices and procedures of Defendants and were not paid regular wages,

        or overtime hours at the rate of time and one half of their regular rate of pay for all overtime

        hours worked in excess of forty.

                                  COUNT I:
               WAGE AND HOUR FEDERAL STATUTORY VIOLATION;
             FAILURE TO PAY OVERTIME; AGAINST ALL DEFENDANTS;
                     AS TO PLAINTIFF GUSTAVO A. FURFARI

     33. Plaintiff GUSTAVO A. FURFARI re-adopts every pertinent and factual allegation,

        regarding to him, as stated in paragraphs 1-21 and 32 above as if set out in full herein.

     34. This action is brought by Plaintiff GUSTAVO A. FURFARI and those similarly-situated

        to recover from the Employers unpaid overtime compensation, as well as an additional

        amount as liquidated damages, costs, and reasonable attorney’s fees under the provisions

        of 29 U.S.C. § 201 et seq., and specifically under the provisions of 29 U.S.C. § 207. 29

        U.S.C. § 207 (a)(1) states, “No employer shall employ any of his employees… for a work

        week longer than 40 hours unless such employee receives compensation for his

        employment in excess of the hours above-specified at a rate not less than one and a half

        times the regular rate at which he is employed.”

     35. The employer DRACO PAINTING was engaged in interstate commerce as defined in §§

        3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). The defendant is a

        construction company working for government agencies and operating across State lines.

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        Defendant has more than two employees directly and recurrently engaged in interstate

        commerce. At all times pertinent to this Complaint, the Employer/Defendant operates as

        an organization which sells and/or markets its services to customers from throughout the

        United States. Employer/Defendant obtains and solicits funds from non-Florida sources,

        accepts funds from non-Florida sources, uses telephonic transmissions going over state

        lines to do its business, transmits funds outside of the State of Florida. Upon information

        and belief, the annual gross revenue of the Employer was always in excess of $500,000 per

        annum. Therefore, there is enterprise coverage.

     36. Plaintiff was employed by an enterprise engaged in interstate commerce. Plaintiff and other

        employees similarly situated regularly and recurrently participated in interstate commerce,

        by repairing facilities providing services in interstate commerce. In addition, Plaintiff

        handled and worked on goods and materials that were moved across state lines at any time

        in the course of business. Therefore, there is individual coverage.

     37. Defendant DRACO PAINTING and GUSTAVO IGLESIAS employed Plaintiff

        GUSTAVO A. FURFARI, from approximately March 04, 2019 to June 5, 2019, or 13

        weeks and 2 days.

     38. Plaintiff was hired by GUSTAVO IGLESIAS as a non-exempted, full-time, hourly

        construction, plastering and painting employee.

     39. From approximately March 04, 2019 to May 3, 2019, or 8 weeks and 4 days, Plaintiff had

        an hourly rate of $18.00 an hour, and he worked in Miami, Florida

     40. From approximately May 4, 2019 to June 5, 2019, or 4 weeks plus 4 days, or 5 weeks

        Plaintiff was sent to work to Austin, Texas and he had a wage rate of $20.00 an hour.

        Plaintiff traveled with the owner of the business GUSTAVO IGLESIAS. Plaintiff was



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        promised to be paid $25.00 an hour plus living accommodations. The fact is that Plaintiff

        was paid $20.00 an hour during the weeks he worked in Texas.

     41. While employed by Defendants, Plaintiff GUSTAVO A. FURFARI worked regularly 6

        days per week. Plaintiff worked from Monday to Friday from 7:00 AM to 6:00 PM (11

        hours); Plaintiff worked a minimum average of 63.5 hours in a week of 6 days. Plaintiff

        has already deducted 1.5 hours of lunch time per week (0.5 lunch hour x 3 days).

     42. In addition, on May 4, 2019 Plaintiff was sent to work to Austin, Texas. Plaintiff had a

        travel time of 24 hours, which was not compensated at any rate. In Austin, Texas he

        maintained his schedule of 6 days/65 hours weekly. Plaintiff was unable to take bona-fide

        lunch periods. Therefore, from May 4, to May 11, 2019, Plaintiff worked 89 hours in a

        week period.

     43. Moreover, the week from May 27, to June 01, 2019, Plaintiff was sent to work for 1 week

        to Wichita, Kansas. Plaintiff was picked up at 3:00 AM on Monday, then Plaintiff returned

        on Friday to Austin and continued his work on Saturday. That week, Plaintiff was unable

        to take bona-fide lunch periods and he completed 73 working hours.

     44. Plaintiff was paid with checks without paystubs or any record of days and hours worked,

        wage rate, employment taxes withheld etc.

     45. Plaintiff did no clock in and out, but he worked under closed supervision of the owner of

        the business, Defendant GUSTAVO IGLESIAS.

     46. Therefore, Defendant willfully failed to pay Plaintiff for regular hours and overtime hours

        at the rate of time and a half her regular rate, for every hour that he worked in excess of

        forty (40), in violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C.

        207(a)(1).



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     47. On or about June 5, 2019, Plaintiff was fired due to his multiples complains about unpaid

        hours and unpaid overtime.

     48. Plaintiff is no in possession of time and payment records, but he will provide a good faith

        estimate based on the regular number of hours that he worked, and an average paycheck of

        $880.00 weekly. After proper discovery, Plaintiff is going to adjust his calculations.

     49. The records, if any, concerning the number of hours worked by Plaintiff GUSTAVO A.

        FURFARI, and all other similarly situated employees, and the compensation paid to such

        employees should be in the possession and custody of Defendants. However, upon

        information and belief, Defendants did not maintain accurate and complete time records of

        hours worked by Plaintiff and other employees in the asserted class.

     50. Defendants violated the record keeping requirements of FLSA, 29 CFR Part 516.

     51. Defendant never posted any notice, as required by the Fair Labor Standards Act and Federal

        Law, to inform employees of their federal rights to overtime and minimum wage payments.

     52. Defendants violated the Posting requirements of 29 U.S.C. § 516.4.

     53. Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at the time of

        the filing of this complaint, Plaintiff’s good faith estimate of unpaid wages are as follows:

        *Please note that these amounts are based on preliminary calculations and that these figures could be subject
        to modification as the time and payment records could dictate.

            a. Total amount of alleged unpaid wages:

                Eight Thousand Two Hundred Fifty Dollars and 84/100 ($8,250.84)

            b. Calculation of such wages:

                Total Period of Employment: 13 weeks

            1.- O/T calculations from March 4, 2019 to May 3, 2019, or 8 weeks (Miami)
                Relevant weeks of employment: 8 weeks
                Total number of hours worked weekly: 63.5 hours
                Regular Rate: $18.00 an hour

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              Paid average weekly: $880.00: $18.00 regular rate= 48.89 hours
              Total hours paid: 48.89 hours
              Overtime hours: 23.5 O/T hours
              Paid O/T hours: 8.89 hours at regular rate of $18.00
              Unpaid O/T hours: 14.61 O/T hours paid @ $0.00
              Regular rate: $20.00 an hour x 1.5=$30.00 O/T rate
              O/T rate: $30.00- $18.00 O/T rate paid= $9.00 half-time difference
              Half-time rate: $9.00

                  i. Half-time difference $9.00 x 8.89 O/T hours paid at $18.00 an hour

                     Half-time $9.00 x 8.89 O/T hours=$80.01 weekly x 8 weeks=$640.08

                  ii. Overtime for 14.61 O/T hours paid at $0.00

                     O/T rate $27.00 x 14.61 O/T hours=$394.47 weekly x 8 weeks=$3,155.76

           2.- O/T calculations from May 4, 2019 to June 5, 2019 or 5 weeks (Texas)
               Relevant weeks of employment: 5 weeks
               Paid average weekly: $880.00: $20.00 regular rate= 44 hours
               Regular rate: $20.00 an hour x 1.5=$30.00 O/T rate
               O/T rate: $30.00- $18.00 O/T rate paid= $10.00 half-time difference
               Half-time rate: $9.00

                  1) 2 weeks of 63.5 working hours

              Total number of hours worked weekly: 63.5 hours
              Total hours paid: 44 hours
              Total O/T hours: 23.5 O/T hours
              Overtime hours paid: 4 O/T hours paid at regular rate of $20.00
              Unpaid O/T hours: 19.5 O/T hours

                  i. Half-time difference x 4 O/T hours paid at $20.00 an hour

                     Half-time $10.00 x 4 O/T hours=$40.00 weekly x 3 weeks=$120.00

                  ii. Overtime for 19.5 O/T hours paid at $0.00

                     O/T rate $30.00 x 19.5 O/T hours=$585.00 weekly x 3 weeks=$1,755.00

                  2) 1 week of 89 hours, including travel to Austin, Texas

               Total number of hours worked: 89 hours
               Total hours paid: 44 hours
               Total O/T hours: 49 O/T hours
               Overtime hours paid: 4 O/T hours paid at regular rate of $20.00
               Unpaid O/T hours: 45 O/T hours

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                   i. Half-time difference x 4 O/T hours paid at $20.00 an hour

                       Half-time $10.00 x 4 O/T hours=$40.00 weekly x 3 weeks=$120.00

                   ii. Overtime for 49 O/T hours paid at $0.00

                       O/T rate $30.00 x 49 O/T hours=$1,470.00

                   3) 1 week of 73 hours, including travel to Wichita, Kansas

                Total number of hours worked: 73 hours
                Total hours paid: 44 hours
                Total O/T hours: 33 O/T hours
                Overtime hours paid: 4 O/T hours paid at regular rate of $20.00
                Unpaid O/T hours: 29 O/T hours

                   i. Half-time difference x 4 O/T hours paid at $20.00 an hour

                       Half-time $10.00 x 4 O/T hours=$40.00 weekly x 3 weeks=$120.00

                   ii. Overtime for 29 O/T hours paid at $0.00

                       O/T rate $30.00 x 29 O/T hours=$870.00

               Total 1 and 2: $8,250.84

           c. Nature of wages (e.g. overtime or straight time):

              This amount represents the unpaid overtime compensation.

     54. At all times, the Employers/Defendants DRACO PAINTING and GUSTAVO IGLESIAS

        failed to comply with Title 29 U.S.C. §207 (a) (1). In that, Plaintiff and those similarly-

        situated performed services and worked in excess of the maximum hours provided by the

        Act but no provision was made by the Defendants to properly pay him at the rate of time

        and one half for all hours worked in excess of forty hours (40) per workweek, as provided

        in said Act.

     55. The additional persons who may become Plaintiffs in this action are weekly-paid

        employees and/or former employees of Defendants who are and who were subject to the

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        unlawful payroll practices and procedures of Defendants and were not paid time and one

        half of their regular rate of pay for all overtime hours worked in excess of forty.

     56. Defendant DRACO PAINTING knew and/or showed reckless disregard of the provisions

        of the Act concerning the payment of overtime wages as required by the Fair Labor

        Standards Act and remains owing Plaintiff and those similarly-situated these overtime

        wages since the commencement of Plaintiff’s and those similarly-situated employees’

        employment with Defendants as set forth above, and Plaintiff and those similarly-situated

        are entitled to recover double damages.

     57. At the time mentioned, individual Defendant GUSTAVO IGLESIAS was and is now, the

        owner/partner/manager of DRACO PAINTING. Defendant GUSTAVO IGLESIAS is the

        employer of Plaintiff and others similarly situated within the meaning of Section 3(d) of

        the “Fair Labor Standards Act” [29 U.S.C. § 203(d)]. This individual Defendant acted

        directly in the interests of DRACO PAINTING in relation to its employees, including

        Plaintiff and others similarly situated. Defendant GUSTAVO IGLESIAS had financial

        and operational control of the business, he determined terms and working conditions of

        Plaintiff and all other similarly situated employees and he is jointly liable for Plaintiff’s

        damages.

     58. Defendants DRACO PAINTING and GUSTAVO IGLESIAS willfully and intentionally

        refused to pay Plaintiff overtime wages as required by the law of the United States and

        remain owing Plaintiff these overtime wages since the commencement of Plaintiff’s

        employment with Defendant DRACO PAINTING as set forth above.

     59. Plaintiff has retained the law offices of the undersigned attorney to represent him in this

        action and is obligated to pay a reasonable attorneys’ fee.



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                                           PRAYER FOR RELIEF

   WHEREFORE, Plaintiff GUSTAVO A. FURFARI and those similarly situated respectfully

   requests that this Honorable Court:

           A. Enter judgment for Plaintiff GUSTAVO A. FURFARI and other similarly situated

               individuals, and against the Defendants DRACO PAINTING and GUSTAVO

               IGLESIAS based on Defendants’ willful violations of the Fair Labor Standards Act, 29

               U.S.C. § 201 et seq.; and

           B. Award Plaintiff actual damages in the amount shown to be due for unpaid overtime

               compensation for hours worked in excess of forty weekly, with interest; and

           C. Award Plaintiff an equal amount in double damages/liquidated damages; and

           D. Award Plaintiff reasonable attorneys' fees and costs of suit; and

           E. Grant such other and further relief as this Court deems equitable and just and/or

               available pursuant to Federal Law.

                                             JURY DEMAND

   Plaintiff GUSTAVO A. FURFARI and those similarly situated demand trial by jury of all issues

   triable as of right by jury.

                                    COUNT II:
                  WAGE AND HOUR FEDERAL STATUTORY VIOLATION;
                FAILURE TO PAY OVERTIME; AGAINST ALL DEFENDANTS;
                         AS TO PLAINTIFF MARIA T. BERRIOS

       60. Plaintiff MARIA T. BERRIOS re-adopts every pertinent and factual allegation, regarding

           to her, as stated in paragraphs 1-6 and 22-32 above as if set out in full herein.

       61. This action is brought by Plaintiff MARIA T. BERRIOS and those similarly-situated to

           recover from the Employers unpaid overtime compensation, as well as an additional

           amount as liquidated damages, costs, and reasonable attorney’s fees under the provisions

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        of 29 U.S.C. § 201 et seq., and specifically under the provisions of 29 U.S.C. § 207. 29

        U.S.C. § 207 (a)(1) states, “No employer shall employ any of his employees… for a work

        week longer than 40 hours unless such employee receives compensation for his

        employment in excess of the hours above-specified at a rate not less than one and a half

        times the regular rate at which he is employed.”

     62. The employer DRACO PAINTING was engaged in interstate commerce as defined in §§

        3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). The defendant is a

        construction company working for government agencies and operating across State lines.

        Defendant has more than two employees directly and recurrently engaged in interstate

        commerce. At all times pertinent to this Complaint, the Employer/Defendant operates as

        an organization which sells and/or markets its services to customers from throughout the

        United States. Employer/Defendant obtains and solicits funds from non-Florida sources,

        accepts funds from non-Florida sources, uses telephonic transmissions going over state

        lines to do its business, transmits funds outside of the State of Florida. Upon information

        and belief, the annual gross revenue of the Employer was always in excess of $500,000 per

        annum. Therefore, there is enterprise coverage.

     63. Plaintiff was employed by an enterprise engaged in interstate commerce. Plaintiff and other

        employees similarly situated regularly and recurrently participated in interstate commerce,

        by working on facilities providing services in interstate commerce. Therefore, there is

        individual coverage.

     64. DRACO PAINTING and GUSTAVO IGLESIAS employed MARIA T. BERRIOS in

        Miami Florida from approximately May 3, 2019 to June 5, 2019, or 4 weeks plus 4 days.

        Plaintiff MARIA T. BERRIOS is the wife of Plaintiff GUSTAVO A. FURFARI.



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     65. Plaintiff worked as a full time, non-exempted, hourly cleaning employee. Plaintiff’s duties

        consisted of the cleaning and disposal of construction debris and her wage rate was $12.00

        an hour.

     66. During her time of employment Plaintiff worked regularly 6 days per week. Plaintiff

        worked from Monday to Friday from 7:00 AM to 6:00 PM (11 hours); on Saturdays, she

        worked from 8:00 AM to 6:00 PM (10 hours). Plaintiff worked a total of 62 hours weekly.

        Plaintiff has already deducted 3 hours corresponding to 0.5 hours of lunch time per 6 days.

     67. Plaintiff was paid a different amount every week, with checks and in cash, without any

        paystub or record of days and hours worked, wage rate, employment taxes withheld etc.

        Plaintiff was paid an average of $500.00.

     68. Plaintiff did not clock in and out, but Defendants were always in control of Plaintiff’s work

        and they were able to keep track of the hours worked by Plaintiff.

     69. Therefore, Defendant willfully failed to pay Plaintiff for regular hours and overtime hours

        at the rate of time and a half her regular rate, for every hour that he worked in excess of

        forty (40), in violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C.

        207(a)(1).

     70. Plaintiff was fired on or about June 5, 2019, due to retaliation and discriminatory reasons.

     71. Plaintiff is not in possession of time and payment records, but she will try to provide a good

        faith estimate of unpaid wages based on her regular schedule and based on an average

        payment of $500.00 weekly. After proper discovery, Plaintiff will adjust her calculations.

     72. The records, if any, concerning the number of hours worked by Plaintiff MARIA T.

        BERRIOS, and all other similarly situated employees, and the compensation paid to such

        employees should be in the possession and custody of Defendants. However, upon



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        information and belief, Defendants did not maintain accurate and complete time records of

        hours worked by Plaintiff and other employees in the asserted class.

     73. Defendants violated the record keeping requirements of FLSA, 29 CFR Part 516.

     74. Defendant never posted any notice, as required by the Fair Labor Standards Act and Federal

        Law, to inform employees of their federal rights to overtime and minimum wage payments.

     75. Defendants violated the Posting requirements of 29 U.S.C. § 516.4.

     76. Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at the time of

        the filing of this complaint, Plaintiff’s good faith estimate of unpaid wages are as follows:

        *Please note that these amounts are based on preliminary calculations and that these figures could be subject
        to modification as the time and payment records could dictate.

            a. Total amount of alleged unpaid wages:

                One Thousand Eight Hundred Fifty Dollars and 84/100 ($1,879.80)

            b. Calculation of such wages:

                Total Period of Employment: 5 weeks
                Relevant weeks of employment: 5 weeks
                Total number of hours worked weekly: 62 hours
                Total O/T hours: 22 O/T hours
                Paid O.T hours: 1.67 O/T hours paid at regular rate of $12.00
                Total unpaid O/T hours: 20.33 O/T hours paid @ $0.00
                Regular Rate: $12.00 an hour x 1.5= $18.00 O/T rate
                O/T rate: $18.00
                Half-time rate: $6.00

                     i. Half-time difference $6.00 x 1.67 O/T hours paid at $12.00 an hour

                          Half-time $6.00 x 1.67 O/T hours=$10.02 weekly x 5 weeks=$50.10

                     ii. Overtime for 20.33 O/T hours paid at $0.00

                          O/T rate $18.00 x 20.33 O/T hours=$365.94 weekly x 5 weeks=$1,829.70

            c. Nature of wages (e.g. overtime or straight time):

               This amount represents the unpaid overtime compensation.


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     77. At all times, the Employers/Defendants DRACO PAINTING and GUSTAVO IGLESIAS

        failed to comply with Title 29 U.S.C. §207 (a) (1). In that, Plaintiff and those similarly-

        situated performed services and worked in excess of the maximum hours provided by the

        Act but no provision was made by the Defendants to properly pay her at the rate of time

        and one half for all hours worked in excess of forty hours (40) per workweek, as provided

        in said Act.

     78. The additional persons who may become Plaintiffs in this action are weekly-paid

        employees and/or former employees of Defendants who are and who were subject to the

        unlawful payroll practices and procedures of Defendants and were not paid time and one

        half of their regular rate of pay for all overtime hours worked in excess of forty.

     79. Defendant DRACO PAINTING knew and/or showed reckless disregard of the provisions

        of the Act concerning the payment of overtime wages as required by the Fair Labor

        Standards Act and remains owing Plaintiff and those similarly-situated these overtime

        wages since the commencement of Plaintiff’s and those similarly-situated employees’

        employment with Defendants as set forth above, and Plaintiff and those similarly-situated

        are entitled to recover double damages.

     80. At the time mentioned, individual Defendant GUSTAVO IGLESIAS was and is now, the

        owner/partner/manager of DRACO PAINTING. Defendant GUSTAVO IGLESIAS is the

        employer of Plaintiff and others similarly situated within the meaning of Section 3(d) of

        the “Fair Labor Standards Act” [29 U.S.C. § 203(d)]. This individual Defendant acted

        directly in the interests of DRACO PAINTING in relation to its employees, including

        Plaintiff and others similarly situated. Defendant GUSTAVO IGLESIAS had financial

        and operational control of the business, he determined terms and working conditions of



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          Plaintiff and all other similarly situated employees and he is jointly liable for Plaintiff’s

          damages.

      81. Defendants DRACO PAINTING and GUSTAVO IGLESIAS willfully and intentionally

          refused to pay Plaintiff overtime wages as required by the law of the United States and

          remain owing Plaintiff these overtime wages since the commencement of Plaintiff’s

          employment with Defendant DRACO PAINTING as set forth above.

      82. Plaintiff has retained the law offices of the undersigned attorney to represent her in this

          action and is obligated to pay a reasonable attorneys’ fee.

                                          PRAYER FOR RELIEF

   WHEREFORE, Plaintiff MARIA T. BERRIOS and those similarly situated respectfully requests

   that this Honorable Court:

          A. Enter judgment for Plaintiff MARIA T. BERRIOS and other similarly situated

              individuals, and against the Defendants DRACO PAINTING and GUSTAVO

              IGLESIAS based on Defendants’ willful violations of the Fair Labor Standards Act, 29

              U.S.C. § 201 et seq.; and

          B. Award Plaintiff actual damages in the amount shown to be due for unpaid overtime

              compensation for hours worked in excess of forty weekly, with interest; and

          C. Award Plaintiff an equal amount in double damages/liquidated damages; and

          D. Award Plaintiff reasonable attorneys' fees and costs of suit; and

          E. Grant such other and further relief as this Court deems equitable and just and/or

              available pursuant to Federal Law.

                                            JURY DEMAND




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   Plaintiff MARIA T. BERRIOS and those similarly situated demand trial by jury of all issues triable

   as of right by jury.

                                  COUNT III:
          FEDERAL STATUTORY VIOLATION PURSUANT TO 29 U.S.C. 215 (a)(3)
                    RETALIATION; AGAINST ALL DEFENDANTS;
           AS TO PLAINTIFFS GUSTAVO A. FURFARI and MARIA T. BERRIOS

       83. Plaintiffs GUSTAVO A. FURFARI and MARIA T. BERRIOS re-adopt every factual

           allegation as stated in paragraphs 1-32 of this complaint as if set out in full herein.

       84. The employer DRACO PAINTING was engaged in interstate commerce as defined in §§

           3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). Upon information and belief,

           the annual gross revenue of the Employer/Defendant was always in excess of $500,000 per

           annum. Therefore, there is enterprise coverage.

       85. Plaintiffs were employed by an enterprise engage in interstate commerce. Plaintiffs and

           other employees similarly situated regularly and recurrently participated in interstate

           commerce, by handling and working on goods and materials and materials that were moved

           across State lines at any time in the course of business. Therefore, there is individual

           coverage.

       86. By reason of the foregoing, Defendant’s business activities involve those to which the Fair

           Labor Standards Act applies.

       87. 29 U.S.C. § 207 (a) (1) states, "if an employer employs an employee for more than forty

           hours in any work week, the employer must compensate the employee for hours in excess

           of forty at the rate of at least one and one-half times the employee's regular rate…"

       88. Likewise, 29 U.S.C. 215(a)(3) states... it shall be unlawful for any person— “to discharge

           or in any other manner discriminate against any employee because such employee has filed




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        any complaint or instituted or caused to be instituted any proceeding under or related to

        this chapter, or has testified or is about to testify in any such proceeding,......”

     89. Defendant DRACO PAINTING and GUSTAVO IGLESIAS employed Plaintiff

        GUSTAVO A. FURFARI, from approximately March 04, 2019 to June 5, 2019, or 13

        weeks and 2 days.

     90. DRACO PAINTING and GUSTAVO IGLESIAS employed MARIA T. BERRIOS in

        Miami Florida from approximately May 3, 2019 to June 5, 2019, or 4 weeks plus 4 days.

        Plaintiff MARIA T. BERRIOS is the wife of Plaintiff GUSTAVO A. FURFARI.

     91. During their time of employment Plaintiffs had a regular schedule. Plaintiffs worked 6

        days per week from Mondays to Sundays, from 7:00 AM to 6:00 PM or more, for a

        minimum of 62 hours every week period.

     92. Plaintiff were paid at different rates. Plaintiff GUSTAVO A. FURFARI was paid at $18.00

        and $20.00 an hour. Plaintiff MARIA T. BERRIOS was paid at the rate of $12.00 an hour.

     93. Both Plaintiffs worked many hours in excess of 40 every week period, however, they were

        not properly compensated for overtime hours. Plaintiff were paid for just for a few overtime

        hours. The remaining overtime hours were not paid at any rate, not even the minimum

        wage rate.

     94. Plaintiffs did not clock in and out, but Defendants were able to track the hours worked by

        each Plaintiff.

     95. Therefore, Defendants willfully failed to pay Plaintiffs overtime hours at the rate of time

        and one-half their regular rate for every hour that he worked in excess of forty (40), in

        violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).




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     96. Plaintiffs were not in agreement with the payment received and they complained multiple

        times.

     97. On or about May 25, 2019, and June 1, 2019 Plaintiff GUSTAVO A. FURFARI formally

        complained about missing payment for overtime hours corresponding to him and to

        Plaintiff MARIA T. BERRIOS. Plaintiff made his complaint to the owner of the business

        GUSTAVO IGLESIAS.

     98. On or about June 5, 2019, Plaintiff GUSTAVO A. FURFARI complained again about the

        same issue to GUSTAVO IGLESIAS. This time the owner of the business fired Plaintiffs

        GUSTAVO A. FURFARI and MARIA T. BERRIOS.

     99. These complains constituted protected activity under 29 U.S.C. 215(a)(3).

     100.        At all times during their employment, Plaintiffs performed their work satisfactorily.

        There was no reason other than a retaliatory action to terminate Plaintiffs’ employment

        with Defendants.

     101.        The adverse employment action against Plaintiffs GUSTAVO A. FURFARI and

        MARIA T. BERRIOS by the Defendants was directly and proximately caused by

        Defendants’ unjustified retaliation because of Plaintiffs’ complaints about overtime

        payment, and regular wages in violation of Federal Law.

     102.        Moreover, Plaintiffs’ termination came just in temporal proximity after Plaintiffs’

        participation in protected activity on or about June 1st, and June 5, 2019.

     103.        At the time mentioned, individual Defendant GUSTAVO IGLESIAS was and is

        now, the owner and manager of Defendant Corporation DRACO PAINTING. Defendant

        GUSTAVO IGLESIAS was the employer of Plaintiffs and others similarly situated within

        the meaning of Section 3(d) of the “Fair Labor Standards Act” [29 U.S.C. § 203(d)]. In



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          that, this individual Defendant acted directly in the interests of DRACO PAINTING in

          relation to its employees including Plaintiffs and others similarly situated. Defendant

          GUSTAVO IGLESIAS had absolute operational and financial control of the business, and

          he is jointly and severally liable for Plaintiffs’ damages.

      104.       Defendants DRACO PAINTING and GUSTAVO IGLESIAS willfully and

          maliciously retaliated against Plaintiffs GUSTAVO A. FURFARI and MARIA T.

          BERRIOS by engaging in a retaliatory action that was materially adverse to a reasonable

          employee, and with the purpose to dissuade Plaintiffs from exercising their rights under 29

          U.S.C. 215(a)(3).

      105.       The Defendants’ adverse action against Plaintiffs GUSTAVO A. FURFARI and

          MARIA T. BERRIOS was in direct violation of 29 U.S.C. 215 (a) (3) and, as a direct result,

          Plaintiffs have been damaged.

      106.       Plaintiffs GUSTAVO A. FURFARI and MARIA T. BERRIOS have retained the

          law offices of the undersigned attorney to represent them in this action and they are

          obligated to pay a reasonable attorney’s fees and costs.

                                        PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs GUSTAVO A. FURFARI and MARIA T. BERRIOS respectfully

   request that this Honorable Court:

         A. Enter judgment declaring that the firing of Plaintiffs GUSTAVO A. FURFARI and

             MARIA T. BERRIOS by Defendants DRACO PAINTING and GUSTAVO IGLESIAS

             constituted an unlawful act of retaliation in violation of 29 U.S.C. 215 (a) (3).

         B. Enter judgment against Defendants DRACO PAINTING and GUSTAVO IGLESIAS

             awarding Plaintiffs GUSTAVO A. FURFARI and MARIA T. BERRIOS liquidated



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              damages in an amount equal to the amount awarded as consequential damages;

          C. For all back wages from the date of discharge to the present date and an equal amount

              of back wages as liquidated damages

          D. Enter judgment awarding Plaintiffs reasonable attorney’s fees and costs of this suit; and

          E. Grant such other and further relief as this Court deems necessary and proper.

                                           JURY DEMAND

   Plaintiffs GUSTAVO A. FURFARI and MARIA T. BERRIOS demand trial by jury of all issues

   triable as of right by jury.

   DATED: June 21, 2019

                                                   Respectfully submitted,

                                                   By: _/s/ Zandro E. Palma____
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